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UNiTED STATES DIS?R!CT COURT
DlSTR|CT OF CONNECT!CUT

 

DEBRA M|LLER and VVELLlAlVl
THOMPSON, individually and on behalf of
all others similarly situated,

P|aintifis,
v.

'l-BOO~FLOVVERS.COM, lNC.; ADAPTlVE
MARKET|NG, LLC; AFFINFON GROUP,
LLC; APOLLO GLOBAL N¥ANAGEN|ENT,
LLC; BANK OF AMER|CA, N.A.;
BECKETT lV|EDlA LLC; BUY.CON|, INC.;
CAPlTAL ONE F|NANC|AL
CORPORAT|ON; CHASE BANK USA,
N.A.; ClTlBANK, N.A.; CE_ASSMATES
lNTERNAT|ONAL, |NC.; DAYS ENNS
WORE_DVV!DE, ENC.; FTD GROUP, lNC.;
lAC/|NTERACTlVECORP, lNC.; MEMORY
LANE, lNC.; PEOPLEFENDERSPRO,
lNC.; RAKUTEN USA, ENC.;
SHOEBUY.CON|, |NC.; TRll_EG|ANT
CORPORAT|ON, |NC.; UN!TED ONL|NE,
lNC.; VERTRUE, ENC.;
WEBLOYALTY.COM, lNC.; WELLS
FARGO & COMPANY; and VVYNDHA!V|
VVORLDVV|DE CORPORATION,

Defendants.

 

 

Case No.:

 

CLASS ACT|ON CON¥PLAlNT

JURY '¥'RiAL DEN|ANDED

|Vlarch 15, 2012

P|aintiffs, Debra Nli|ler and Wi||iam Thompson (“Plaintiffs”), individually and on

behalf of all others similarlysituated, aliege, based upon personal knowledge,

information and belief, and the investigation of counse|, the following;

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NATURE OF THE ACTiON

t. This action is brought against Detendants, Trilegiant Corporation, lnc., its
parent company, Affinion Group, LLC, and their controlling owner, Apo|lo Globa|
Nlanagement, E_l_C, Vertrue, lnc., Webloyalty.com, lnc. and Adapttve l\llarketing, LLC
(collectively "Tri£egiant Enterprises" or “Tri|egiant"), Which, in conjunction with various e-
commerce merchants or “mari<eting partners" such as Defendants, 1-800-Flowets.com,
inc., Beckett l\lledia LLC, Buy.com, lnc., Classmates international, lnc., Days inns
Wor|dwide, tnc., FTD Group, Enc., fAC/lnteractivecorp, inc., l\llemory i_ane, lnc.l
Peoplefinderspro, lnc., Ral<uten USA, lnc., Shoebuy.com, inc., United Online, lnc.,
Wells Fargo & Company and V\lyndham Woridwide Corporation (collectively “l\llarketing
Partners”) and credit card companies such as Defendants, Banl< of Ametica, N.A.,
Capital One Financiai Corporation, Chase Bani< USA, N,A,, and Cltibank, N.A.,
(collectively “Credit Card Companies”), to levy unauthorized charges on consumers’
credit and/or debit card accounts

2. Tri|egiant purports to sell “mernberships” to discount “clubs” including, but
not limited to, LiveVVell, Shoppers /-\dvantage, Travelers Advantage, Great Funl, Great
Options, CompieteHome, Everyday Values, Everyday Priv§leges Gold, HealthSavet,
Just For Nle, Privacy Guard, ldentitySecure, CardCops, PC SafetylPlus, l-fot-l_ine,Auto
Vantage, and Buyers Advantage (col|ective|y “|Vlernbership C|ubs" or “l\llembership
Programs”). ln reality, Trilegiant is in the business of creating confusion surrounding
these l\ilembership Clut)s With the ultimate goal of luring consumers, by fraud and
trickery, into enrolling in and paying fees to such “ciubs” Which are illusory in nature and

ultimately provide no services

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3. By engaging in these practices for years, Trilegiant's actions have `
subjected the company (as We|| as its aifiiiates, subsidiariesl and parent companies) to
Congressionai hearings and prior governmental investigations; specifically a sixteen»
state attorney general investigation, which ultimateiy yielded an injunction expressly
prohibiting Trilegiant from engaging in the practices complained of herein. lts business
practices are well known to the e-merchant community and to the Credit Card
Companies, each of whom is an essential part of and participant in Trilegiant’s
fraudulent scheme Despite the previous sixteen-state attorney general settiement, and
other governmental investigations Trilegiant has continued to operate its scheme
Further, the l\llarketing Partners continue to receive revenue from their participation in
Triiegiant’s scheme, and the Credit Card Companies continue to process charges from

Trilegiant despite their knowledge of Triiegiant’s frauduient business practices

4. Trilegiant’s fraudulent marketing scheme consists of at least five common
features:
a. Purchasing Access to E-merchants’ Checkout Process;
b. Soliciting Consumers Through Post-'i'ransaction Offers;
c. Using a Data-Pass Technique to Share Private Consumer Data;

d. Enroiling in Negative~Option Biliing Practices; and
e. implementing Refund llliitigation Policies.
5. Several of these techniques are considered patterns of fraudulent
conductl and have promoted numerous governmental investigationsl includingl but not
limited to, the sixteen-state attorney-general investigation, the Senate Commerce

Committee’s Suppiementai Report on Aggressive Saies Tactics on the internet

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published on May 19, 2010, and the Restore Online Shoppers’ Confidence Act recently
passed by Congress.
Purchasinq Access to Nlarketinq Partners’ Checkogt Process

6. Trilegiant functions by contracting with its l\/iarketing Partner`s to let
Trilegiant interpoiate itself into the checkout process when consumers such as Plaintiffs
are in the process of completing their purchases Trilegiant pays the Marketing Partner
a fee for giving Triiegiant access to the checkout process so that Triiegiant can carry out
its scheme. These fees paid to i\llari<eting Partners are substantial_Congressional
records indicate that Defendant, l\llemory Lane, inc. (operating its business as
C|assrnates.com), was paid in excess of $70 million from Trilegiant Other Defendants,
inciuding 1-800-Flowers and FTD, have been paid at least $10 million from Trilegiant

So|icitinq Consurners Throuqh Post-Transaction Offers

7. As is common in internet sales transactions when a consumer is ready to
compiete his or her purchases from Triiegiant’s l\llari<eting Partners, the consumer is
prompted to input his or her confidential billing information, including his or her creditor
debit card numbers Once the consumer is done providing his or her credit card
information, but QILQLLQ confirming the saies transaction with the e-merchant, Trilegiant
often inserts its membership program offers With a promise of an upiront gift, such as
cash back rewards. Because of the positioning of these "post-transaction offers" in the
purchase process, the customers are led to believe, in this examp|e, that they are
completing the original transaction with the i\llarketing Partner.

8. Not only is the positioning of these “post~transaction ofters” confusing and

misleading, but when disciairners, opt-out iinks, or other text that would allow a

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consumer to evade Trilegiant's offer are displayed, such text is displayed in a-color
matching, or very similar to, the background of the web page, in order to remain
unnoticed or undetected

Usinq a Data-Pass Technique to Share Private Consumer Data

9. At the heart of Defendants’ frauduient marketing scheme lies a “data pass"
arrangement where a consumer can be enroiied in Trilegiant’s membership program
without ever directly providing his or her credit card information lnstead, Trilegiant’s
Marketing Partners, pursuant to their partnership agreement with Trilegiant, pass on the
consumer's credit card information to Triiegiant without the consumer’s knowledge or
consent and without any form of communication between the e-merchant and the
consumer authorizing this “data pass”

'iO. This practice is particularly shocking, as it could allow consumers
personal credit card information to be disseminated to other parties without their
knowledge or consent

t“lx As discussed more in detail beiow, this practice prompted a Senate
investigation which ultimateiy led to Congress passing the Restore Online Shoppers’
Confidence Act to expressly prohibit conduct of this nature.

Enrollinq in Neqative-Option Billinu Practices

12. Once the consumer is unwittingly enrolled in one or more of Trilegiant’s
membership programs, Trilegiant begins to automaticaliy charge the consumer’s credit
or debit card, again without the consumer’s authorization `i'he credit card company then
processes these unauthorized charges and debits the consumer’s account, despite

evidence that Trilegiant is in violation of various credit card rules '

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13. Trilegiant will continue assessing, and the credit card company will
continue processing, these unauthorized charges unless and until the consumer actively
opts out of the membership program. This practice is known as a “negative option" and
can result in Trilegiant charges of $11.99 or more per month continuing, sometimes for
several months or more, until the consumer: a) detects the unauthorized charge on his
or her statement; b) contacts Trilegiant to cancel the membership program; and c) is
able to effect cancellation, despite Trilegiant’s resistance, delaying tactics and
obfuscation.

14. As discussed more in detail below, this practice prompted a Senate
investigation Which ultimately led to Congress passing the Restore Online Shoppers’
Confidence Act to expressly prohibit conduct of this nature.

implementing Refund illlitiqation Poiicies

15. Knowing that the consumer wi|i attempt to seek immediate cancellation, as
well as a full refund, upon discovering that they have been inadvertently enrolled in
these membership programs and charged unauthorized monthly fees Trilegiant
employs various tactics to minimize the amount of refund to be issued to the consumer.
These tactics inciude training call center employees to quickly cancel without a refund
as soon as a customer complains and demanding the request for cancellation be in
Writing.

16. According to the Supp|ementai Report, “[w]hen consumers finally realized
that [one of the Triiegiant Enterprises was] charging them, [these Trilegiant Enterprises]
withheld important information about the charges from consumers and made it as

difficult as possible for consumers to get their money back.

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Government investigations

17. Defendants have received thousands of consumer complaints regarding
their fraudulent marketing scheme dating back prior to the 2006 attorney general
investigation and continuing through to the present ln fact, the pattern of Defendants’
fraudulent conduct is so pronounced that various governmental authorities including the
United States Senate Committee on Commerce, Science, and Transportation (the
“Senate Commerce Committee”) and the then-New York Attorney Generai Andrew lVl.
Cuomo, have iaunched official investigations into Trilegiant and its affiiiated e-
merchants’ online business practices

18. The Senate Commerce Committee issued a Staff Report entitied,
“Aggressive Sales Tactics on the lnternet and Their impact on American Consumers,"
published on i\iovember 16, 2009. This report concluded that:

Affinion[firitegiant] . . . use[s] aggressive sales tactics intentionally

designed to mislead oniine shoppers [Triiegiant] exploit[s] shoppers’

expectations about the on|ine purchasing process to charge mii|ions of

consumers each year for services the consumers do not want and do not

understand they have purchased Hundreds of e-commerce merchants-

including many of the best-known, respected websites and retailers on the

lnternet_aiiow {Triiegiant]_to use aggressive sales tactics against their

customers and share in the revenues generated by these misleading
tactics

19. The Senate Commerce Committee published a second report on lVlay 19,
2010 entitied, “Supp|ementa| Report on Aggressive Sales 'l`actics on the internet,"
based on the information provided by e-merchants. The Supplemental Report
concluded that the e-merchants have engaged in deceptive conduct and have violated
credit card company ruies by automatically transferring customers credit card

information to Trilegiant.

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20. The Supplementa| Report described Trilegiant’s practices as a two-step
business model: (i) use deceptive sales tactics to charge consumers credit and/or
debit card accounts and (2) after consumers discover the unauthorized charges refund
as little of their money as possible

_ 21. These new investigations follow on the heels of the settlements Trilegiant
reached with sixteen attorneys general in 2006 that required Trilegiant to cease certain
business practices including offering “free" or “no obligation" trial memberships in the
same l'\llembership Programs at issue here through direct mail solicitations Without
disclosing that cashing the enclosed check for a nominal amount automatically enroiis
the consumer in the l\liembership Program and the consumer will be charged automatic
monthly fees until the consumer affirmatively acts to cancei. The `l'riiegiant Enterprises
have continue these fraudulent business practices or modified such practices slightly
into their current form in some cases which have given rise to these new investigations
and to this class action iawsuit.

22. in response to the various government investigations into Trilegiant,
Congress passed, and the President signed, the Restore Oniine Shoppers’ Confidence
Act which expressly bans Trilegiant’s data-pass and negative option billing practices
among other things

23. As a result of Defendants’ conduct described above and further described
throughout this Complaint, Piaintiffs and members of the putative Plaintiff Class have
been damaged by incurring charges for “rnemberships” to Trilegiant “ciubs” that they

never wanted or used. Further, these so-ca|led “ciubs” have little or no actual value

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24. Accordingly, Plaintiffs, on behalf of themselves and all others similarly
situated whose credit, debit or other accounts have been assessed “membership fee”
charges as a resuit of Defendants’ fraudulent scheme bring these claims against
Defendants for: (a) violations of the Racketeer influenced C__}orrupt Organizations Act
(“RICO”), 18 U.S.C. §§ i961-1968; (b) conspiring to vioiate RlCO, 18 U.S.C. § 1962(d);
(c) aiding and abetting violations of RlCO, 18 U.S.C. §§ 196‘i-1968; (d) aiding and
abetting violations of 18 U.S.C. § 1341 (mail fraud), violations of 18 U.S.C. § 1343 (Wire
fraud), and violations of 18 U.S.C. § 1344(2) (bank fraud); (e) violations of the E|ectronic
Communications Privacy Act (“ECPA”), 18 U.S.C. § 2510, et seq.; (f) aiding and abetting
violations of ECPA, 18 U.S.C. § 2510, et seq.; (g) violations of the Connecticut Unfair
Trade Practices Act, Conn. Gen. Stat. § 42-110a ("CUTP ”); (h) aiding and abetting
violations of CUTPA; (i) violations ot the Caiifornia Automatic Purchase Renewal Act,
Cal, Bus & Prof_ Code § 17602; and (j) unjust enrichment

25. P|aintiffs seek, inter alia: an order certifying the proposed Piaintift Class
and Defendant Class under Rule 23 of the Federal Rules of Civil Procedure; an order
appointing Plaintiffs and their counsel of record to represent the Plaintiff Class;
restitution, statutory damages and injunctive and declaratory relief on behalf of P|aintiffs
and the Plaintiff Class; and any such further relief as the Court may deem proper under
the circumstances

JtJRiSD|CTION AND VENUE

26. This Court has original jurisdiction over this action pursuant to 28 U_S,C_ §

1331, because it arises under the laws of the United States nameiy, 18 U.S.C. §§ 1961-

1968 (RiCO) and 18 U.S.C. § 25i0, et seq. (ECPA). This Court has suppiementai

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jurisdiction under 28 U.S.C. § 1367 over Plaintiffs’ state law claims for violations of
CUTPA, C. G. S. § 42~1103, et seq., and for unjust enrichment

27. This Court also has original jurisdiction over this class action pursuant to
28 U.S.C. § 1332(d), because in the aggregate the amount in controversy exceeds the
jurisdictional minimum amount of $5,000,000.00, exciusive of interest and costs there
are at ieast 100 members in the proposed Plaintiff Class and at least one member of
the Plaintifi Class is a citizen of a different state than Defendants

28. This Court has general and specific jurisdiction over Defendants
Defendants are and at all relevant times Were, engaged in unfair business practices
and a racketeering enterprise directed at and/or causing injury to persons residing,
located or doing business throughout the United States, including in this District. The
jurisdiction is proper pursuant to 18 U.S.C. § 1965(b), which estabiishes nationwide
jurisdiction in RlCO claims

29. Venue is proper in this District pursuant to 28 U.S.C. § i391 because a
substantial part of the events giving rise to the claims occurred in this District, and/or
because Defendants have sufficient contacts with this District.

PART|ES

30. P|aintifi, Debra Miller (“Miller”), is and at ali relevant times was a citizen of
North Dakota. During the Class period, i\lliller‘s credit and/or debit card was unlawfully
charged by Trilegiant’s “Great Funi" membership club, after purchasing some textbooks
online from one of the |Vlarketing Partners in June 2010. Once l\lliller was unknowingly
“enrolled" in the l‘\llembership Clubs, her credit and/or debit card account was charged a

monthly fee ranging from $12.00 to $13.99 until February 2012. Upon becoming aware

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of the unlawful charges i\lli||er contacted Capital One her credit card provider, and
Triiegiant in an attempt to obtain a refund of these charges Trilegiant and Capital One
both refused to refund these charges prompting Nlilier to pursue further legal action.

31. P|aintiff, William Thompson (“Thompson"), is and at ali relevant times
was a citizen of i\llassachusetts During the Class period, Thompson’s credit and/or
debit card account was uniawfully charged by Webloyalty’s “Reservation Rewards”
membership club and Webloyalty’s “Shopper Biscount" club, after making purchases
from one of the l\llarketing Partners. Once Thompson Was unknowingly "enro|led” in the
l\llembershlp Clubs, his credit and/or debit card account Was charged a fee in the
amount of $10.00 per club, each month thereafter

32. At no point during P|aintiffs' transactions With the l\/larketing Partners, or at
any point thereafter, did Plaintiffs provide their consent to charge their credit and/or
debit card accounts for allegedly enrolling in these l\llembership Clubs

33. 1-800-Flowers.com, lnc. is a corporation established under the laws of the
State of Delaware, with its principal place of business located in New York. 1~800-
Flowerscom, lnc. is an online merchant conducting business over the lnternet
throughout the United States.

34. Adaptive Nlarketing, LLC is a limited liability company established under
the laws of the State of Delaware, with its principal place of business located in
Connecticut Adaptive l\llarketing, LLC is a Wholly owned subsidiary of Vertrue, lnc.

35. `Affinion Group, l_l_C is a limited liability company established under the

laws of the State cf Delaware, With its principal place of business located in

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Connecticut Affinion Group, LLC markets club memberships under the auspices of its
subsidiary, Trilegiant Corporation, inc.

36. Apoilo Globai Nianagement, LLC is a limited liability company established
under the laws of the State of Delavvare,-with its principal place of business located in
New York. According to Affinion’s Form 10-K filed With the Securities Exchange
Commission:

We are controlled by Apollo who will be able to make important
decisions about our business and capital structure

Approximately 69% of the common stock of [Atfinion] is beneficialiy owned
by investment funds affiliated with Apolio. As a resuit, Apollo controls us
and has the power to elect a majority of the members of our board of
directors appoint new management and approve any action requiring the
approvat of the hoiders of i-lo|dings’ stock, inciuding approving acquisitions
or sales of ali or substantially all of our assets The directors elected by
Apollo have the ability to control decisions affecting our capital structure,
inciuding the issuance of additional capital stock, the implementation of
stock repurchase programs the declaration of dividends and the purchase
of our indebtedness or l-loldings’ indebtedness in each case, subject to
the terms of our senior secured credit facility and the indentures governing
our notes. Additional|y, Apoito is in the business of investing in companies
and may, from time to time, acquire and hold interests in businesses that
compete directiy or indirectly With us. Apollo may also pursue acquisition
opportunities that may be complementary to our business and, as a result,
those acquisition opportunities may not be available to us.

(emphasis in original).

37. Banl< of/-\merica, N.A. is a corporation established under the iaws of the
State of Delaware, with its principal place of business located in North Carolina. Bank of
Arrierica, i\i.A. is a Wholly owned subsidiary of Banl< of America Corporation. Bank of
America, N.A. is the legal entity for Banl< of America Corporation’s credit card business
Bank ofArnerica, N.A. is one ot the iargest credit card companies in the United States,

with millions of credit card customers throughout the United States.

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38. Beckett Nledia l_LC is a limited liability company established under the
laws of the State of Delaware, With its principal place of business located in Texas.
Beckett i\/ledia LLC operates its business of buying and selling various sports
memorabi|ia through its website, Becl<ett.com.

39. Buy.corn, lnc. is a corporation established under the laws of the State of
Delaware, with its principal place of business located in Ca|irornia. Buy.com, inc.
operates its e-commerce business of providing technology and entertainment retaii
goods as a fully owned subsidiary of Rakuten USA, inc.

40. Capita| One Financia| Corporation is a corporation established under the
laws of the State of Delaware, with its principal place or business located in Virginia.
Capital One Financial Corporation is one of the largest credit card companies in the
United States, with millions of credit card customers throughout the United States.

41. Chase Bank USA, N.A. is a corporation established under the laws of the
State of New York, with its principal place of business located in l\iew York. Chase is a
wholly owned subsidiary of JP Nlorgan Chase & Co. (“JPl\/l”). Chase is the legal entity
for JPlvl’s credit card business Chase is one of the largest credit card companies in the
United States, with miliions of credit card customers throughout the United States.

42. Citibank, N.Ai is a corporation established under the laws ot the State of
Delaware, with its principal place of business located in l\lew York. Citibank, N.A. is a
wholly owned subsidiary of Citigroup |nc., and is one of the largest credit card
companies in the United States, with millions of credit card customers throughout the

United States.

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43. Classmates lnternationai, inc., doing business as Classmates Oniine, lnc.,
is a corporation established under the laws of the State of Delaware, with its principal
place of business located in Washington.

44. Days inns Worldwide, lnc. is a corporation established under the laws of
the State of New Jersey, with its principal place of business located in New Jersey. Days
lnns Worldwide, lnc. is a wholly-owned subsidiary of Wyndham \Norldwide Corporation.

45. FTD Group, lnc., doing business as FTD.com', lnc., is a corporation
established under the laws of the State ot Delaware, with its principal place of business
located in illinois

46. lAC/lnteractivecorp, lnc. is a corporation established under the laws of the
State of Delaware, with its principal place of business located in New York. iAC acquired
Shoebuy.com in 2006 as its wholly-owned'business subsidiary lAC operates its
business through Shobuy.com.

47. lntelius, lnc. is a corporation established under the laws of the State of
Delaware, with its principal place of business located in Washington. lntelius, lnc. was
involved in marketing the club memberships complained of herein.

48. l\/lemory l._ane, lnc., doing business as Classmatescom, is a corporation
established under the laws of the State of Washington, with its principal place of
business located in Washington.

49. F’eopleFindersPro, lnc. is a corporation established under the laws of the
State of Caiitornia, with its principal place of business located in Caliiornia.
PeopleFindersPro, lnc. operates its business of obtaining public records for people

through its website, PeopleFinders.com.

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50. Ral<uten USA, inc. is a corporation established under the laws of the State
ot Delaware, with its principal place of business located in Nlassachusetts. Rakuten
USA, lnc. provides an online marketplace for the sale of goods and services and is the
parent company of Buy.com, inc.

51. Shoebuy.com, lnc. is a corporation established under the laws of the State
of Delaware, with its principal place of business located in Massachusetts, and is a
whol|y~owned subsidiary and an operating business of lAC.

52. Trilegiant Corporation, lnc. is a corporation established under the laws of
the State of Delaware, with its principal place of business located in Connecticut, and is
a subsidiary ofArfinion. Trilegiant Corporation, |nc. markets the club memberships
complained of herein.

53. United Oniine, lnc. is a corporation established under the laws of the State
of Delaware, with its principal place of business located in California. ln 2004, United
Online, lnc. acquired Classmates Online, lnc. (whose name was recently changed to
ll/lemory Lane, inc.). ln August 2008, United Online, inc. acquired FTD Group, inc.

54. Vertrue, |nc\ is a corporation established under the laws of the State of
Delaware, with its principal place of business located in Connecticut Vertrue, tnc.
markets club memberships complained of herein under the auspices of its subsidiary,
Adaptive lVlarketing, LLC.

55. Webloyalty.com, lnc. is a corporation established under the laws of the
State of Delaware, with its principal place of business located in Connecticut
Webloyalty.com, lnc. is a wholly owned subsidiary of Afiinion, and markets the club

memberships complained of herein.

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56. VVells Fargo & Company is a corporation established under the laws ot the
State of Delaware, with its principal place of business located in California. Wells Fargo
& Company markets Trilegiant Nlembership Clubs through an identity Theft Protection
program in its Welis Fargo insurance division

57. Wyndham Worldwide Corporation is a corporation established under the
laws ot the State of Delaware, with its principal place of business located in New Jersey.
Wyndham Worldwide Corporation wholly owns Days lnns Worldwide, lnc., and controls
its day-to-day hospitality business operations

STAT__E“|_l__ll__§NT OF FACTS

A. Trilegiant Enterprises and their Nlarketing Partners

58. Triiegiant, which started out as Comp-U-Card (“CUC”) in 1973, merged
With l-lFS incorporated in 1997 to form Cendant Corporation (“Cendant”). immediately
after this merger, it was disclosed that CUC had engaged in a massive accounting
fraud, embroiiing Cendant in one of the largest securities actions at the time. ln 2005,
Cendant sold Trilegiant to Apolio i\/lanagement, which subsequently renamed Triiegiant
as Atfinion Group in 2006. Affinion later acquired Webloyalty.corn, lnc.

59. Since the inception of its predecessor in 1973, Trilegiant has been
engaged in the business of marketing and selling membership programs that allegedly
provide “members" with the opportunity to obtain discounts on various goods and
services for a recurring membership fee, usually ranging between 510 and $30 a month,
assessed againstthe consumer’s credit or debit cards The membership programs
marketed and sold by Trilegiant include, inter alia, the foliowing: LiveVVell, Shoppers
Advantage, Travelers Advantage, Great Funl, Great Options, CompleteHome, Everyday

Values Everyday Privileges Gold, HealthSaver, dust For lVle, Privacy Guard,

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ldentitySecure, CardCops, PC Safety/Plus, Hot-Line, Auto Vantage, and Buyers
Advantage (collectively “Nlembership Prograrn(s)” or “i\/lembership Club(s)”).

60. Trilegiant’s business is highly profitable ln the third quarter of 2010 alone,
Trilegiant has recorded revenue of over $170 million from the sale of its l\/lembership
Prograrns.

61. Because there is no significant market demand or use for these
l\flembership Programs, much of Trilegiant’s success is directly attributable to its ability
to fraudulently and deceptively stick consumers with unauthorized charges for the
lVlembership Programs that consumers neither requested nor authorized

62. Ali of Trilegiant's tactics ot fraudulently and deceptively imposing
unauthorized charges share a common, indispensable element for their success: a
variety of strategic alliance partnerships with third parties such as various e-
merchants including the above~named Defendant Nlarketing Partners, and credit card
companies including Defendant Credit Card Companies, to obtain access to, and
process charges on, the consumers confidential billing information

63. Because of its pervasive use of these tactics designed to charge
consumers for the l\/lembership Prograrns without their knowledge or consent, Trilegiant
has been the subject of numerous law enforcement actions and private lawsuits
including, but not limited to, the following:

a. Florida Attorney General Charlie Crist reached a settlement with

Trilegiant in March 2005, the terms of which required Trilegiant to “provide

compensation to consumers wronged by the company’s tactics in marketing

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various club memberships,” as well as $400,000.00 to the State of Florida for its
attorneys fees costs of investigation, and continued supervision

b. ln a prior class action lawsuit brought by private individuals an
illinois state court granted final approval of a nationwide class action lawsuit
against Trilegiant, under which Trilegiant agreed to pay up to $25 million in
refunds

c. Caiifornia Attorney General Bill Lockyer also instituted a legal
proceeding against Trilegiant and Chase Bank for “mislead[ing] consumers into
becoming members of various membership programs without the consumers
knowledge or consent." Their investigation discovered that Trilegiant had
agreements with Chase Bank to gain access to Chase Bank’s customers and
market the membership programs Pursuant to these agreements Trilegiant
used Chase Banl<'s name in mailings and Chase Bank reviewed and approved
marketing materials On December 12, 2006, 16 state attorneys general1 joined a
$14.5 million settlement against Trilegiant and Chase Bank.

d. ln August 20’i0, New York Attorney General Andrew lvl. Cuomo
reached a settlement against Trilegiant for $10 million for tricking hundreds of
thousands of New Yorl< consumers into signing up for discount clubs that
charged hidden fees
64. Under the settlement agreement reached with 16 state attorneys general

in Decernbe`r 2006, Trilegiant was enjoined from directly marketing the ll/lembership

 

1 The states involved in the settlement were: Alaska, Caiiiornia, Connecticut, illinois |owa, il/iaine,
IVlichigan, Nlissouri, New Jersey, North Carolina, Ohio, Oregon, Pennsylvania, Tennessee, Verrnont, and
Washington.

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Programs through mail solicitations without making certain changes to its practice,
including, inter alia:

a. Disclosures regarding cancellation methods in a negative option
billing practice, all in a clear and conspicuous manner such as inserting the
disclosure language in the first paragraph of the main body in bold type
compared to other text on the page;

b. Ensuring that no false or misleading representation is made to the
consumers that the solicitation is a refund, rebate, reward or other benefit
conferred because of a business relationship between a third party merchant and
the consumer or that the solicitation was service or benefit offered by any entity
other than Trilegiant;

c. Ensuring that membership materials clearly and conspicuously
disciose, in bold face or underlined type, that the consumer has purchased a
membership in a lvlembership Program, and that the consumer has a certain
number of days to cancel the membership in order to avoid being charged for the
membership;

d. Prior to billing a consumer for a membership charge, first obtain the
consumer’s unambiguous express and affirmative written consent to charge a
membership charge to an account, either immediately or upon the expiration of a
trial offer, unless the consumer affirmatively cancels his or her membership;

e. Promptly credit or refund, in accordance with the cancellation

policy, the amount of any unauthorized membership charge without requiring

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additional action by the consumer (other than requesting that the consumer
provide information necessary to process the cance|iation); and

f. That Trilegiant shaii not enter into, continue, or renew any contract
with any third party for the purpose of marketing Nlernbership Programs that do
not comply With all the injunctive provisions of the settlement agreement
65. Sirnilarly, the settlement agreement reached between then-New York

Attorney Genera| Andrew Ni. Cuorno and Trilegiant required Trilegiant to:

a. Ful|y refund fees charged to consumers who unknowingly enro|ied
in or authorized billing for Triiegiant discount clubs and programs;

b. Perrnanent|y end its practice of marketing discount clubs and
programs by rnai|ing checks to New York residents;

c. Permanent|y end its practice of obtaining consumers’ billing
information from online partner retaiiers;

d. Reform its oniine marketing practices to ensure consumers
understand they are enrc|iing in a program offered by Trilegiant for which they
will be billed; and

e. Nlake redemption forms for rebates immediately available to
consumers online.

B. Continued Vio|ations by Trilegiant Enterprises, Nlarketing Partners,
and Credit Card Companies After Attorney General investigations

66. Despite being on notice that its marketing scheme is frauduient, unfair,
deceptive, and unlawful by virtue of its 2006 settlement with sixteen state attorneys
genera|, Triiegiant attempts to evade the settlement injunctions by using oniine

transactions, as opposed to the interstate maii system, to continue a virtuaiiy identical

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frauduient and deceptive marketing scheme to seii its |Viembership Programs without
the consumers’ knowiedge, and to charge recurring membership fees without the
consumers’ proper ccnsent.

67. As expiained in the SuppiementaiReport, “[t]he goal of these
[|\iiembership Programs] was not to provide services, but to charge consumers’ credit
cards for as many months as possibie before consumers discovered their memberships
and cancelled them."

68. The mechanics of the partnership agreements between the Trilegiant
Enterprises and the Nlarketing Partners are the same in each agreement in exchange
for a substantial portion of the revenue generated by selling the |‘v‘|embership Programs,
the partner companies not only aiiow Trilegiant to market and sell the iviembership
Programs to their customers, but aiso provide access to the customers’ private billing
information, including their credit or debit card account numbers

69. Once the partnership agreement is in place, Trilegiant’s fraudulent
marketing scheme to sell its Niembership Programs goes through several uniform steps
to achieve its common goal of "charg[ing] consumers’ credit cards for as many months
as possible before consumers discover[] their memberships and cance|[] them."

70. First, employing a deceptive tactic known as “post transaction” marketing,
Trilegiant and numerous e-merchants have uniformiy created a false and deceptive
appearance that these offers for discount i\/lembership Prograrns are part of the
consumers’ originai transactions with the e-merchants. Such post-transaction marketing
uses, inter alia: (i) “interstitiai” sales offer pages from Trilegiant, which appear between

the checkout page and the confirmation page while the customers are completing their

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transactions on the e-merchant’s website; (2) "pop up" windows with the offers which
appear on top of the e-merchant’s confirmation page; and (3) a hyperiink to an
enro|iment offer (or “banners") that are included on the e-merchant’s confirmation page.

71. Any opt~out hyperlinks or other form of so~calied “disclaimers” displayed
by Triiegiant are done using text that is the same color as the background, or using a
color that is indistinguishabiy similar, in order to reduce the detectabi|ity and/or
noticeabiiity of such ianguage.

72. Second, once the consumers have been duped into believing that the
i\/lembership Program offers are from the e-merchants, Trilegiant uniformly allows the
enrci|ment to go forward without ever requiring the consumers to enter their creditor
debit card account information

73. As such, Trilegiant never obtains access to the consumers’ credit card
information directly from the consumers themselves instead, under the terms of the
partnership agreement between the e-merchants and Trilegiant, the e-merchants
provide Trilegiant With fuil, unfettered access to the consumers credit card information,
even though the consumers never intend to directly provide such information to
Triiegiant. This frauduient tactic is known as “data pass” marketing

74. Because the consumer never has to enter any of his or her credit card
information, they reasonany believe that they have not made any additionai purchases
apart from their original transaction with the e-merchant. According to the Nationa|
Association of Attorneys Generai, requiring a consumer to re-enter his or her credit card
information “is a readily recognizabie means for a consumer to signai assent to a deai"

which gives the consumers the uitirnate say over their purchase decisions i_ikewise, a

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i-larvard Business Schoo| Professor, Benjamin Ede|man, recently opined to the Senate
Commerce Committee that “[consumers] rightly expect . . . they cannot incur financial
obiigations except by typing their credit card numbers.”

75. Third, exploiting the fact that the consumers are completely unaware of
their inadvertent enroi|ment in these i\/iembership Programs, Triiegiant uniformly
employs a deceptive bililng process known as “negative option" where the consumer’s
credit card will be automatica|iy charged a monthly fee unless and untii the consumer
takes affirmative steps to cancei the membership The oniy indication on the offer page
that Trilegiant engages in such negative option billing process is in exceedingly fine print
that is specificai|y designed not to attract the consumer’s attention.

76. Affirmative consumer action is impossible until consumers actuain
become aware that they have been enrolled in the Nlembership Program, which does
not occur until months, if not years, after Trilegiant first begins to charge recurring
membership fees. Furthermore, the common, distinctive feature of Trilegiant’s
ii/|embership Programs, i.e., that they mereiy provides “access” to benefits, as opposed
to periodic receipt of tangible goods, creates speciai hazards for consumers enroiied on
a negative option basis, especially when the consumers are not even aware of
purchasing “access” in the first instance

77. Fourth, Triiegiant uniformly employs various tactics to minimize the
amount of improper charges they would have to refund to the millions of confused and-
angry consumers who eventuaily discover that they have been unknowingly enroiied in

the Nlembership Programs and charged unauthorized monthly fees.

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78. On information and beiief, in addition to maintaining its own cai| centers,
Trilegiant hires other companies for the specific purpose of minimizing the number of
membership cancellations by empioying a specific protocol to handie the thousands of
consumer calls it receives each day. These cai| center employees are incentivized to
turn away these angry Trilegiant customers by promises of a bonus payment for every
customer that they “save,” and threats of termination if the “save” rate falls below certain
threshold percentage

79. On information and beiief, ratherthan informing the customers of the reai
method by which they were “enroiied” into these |Viembership Programs, these cali
center employees are specificaliy instructed to teii the customers that they somehow
signed up for the i\/iembership Programs through their credit card company if a
customer tries to cancel a membership With Trilegiant, the employee is instructed to
keep the customer by going through several “rebuttal" steps They must do at least two

rebuttais, selling the customer on the service provided by maintaining the membership

ll li n ll

with Trilegiant. if a customer uses key words such as “fraud, attorney, attorney
generai," or “iawsuit,” these call center employees are instructed to transfer the call to a
manager. Even though these empioyees are not aiiowed to issue more than a two
month refund under any circumstances, a manager will often issue a full refund to those
customers who persist in their request for refund by repeatedly using certain key words.
80. As a resuit of this uniform, frauduient marketing scheme, consumers are

wrongfu|iy and deceptively charged by Trilegiant for the i\/iembership Prograrns, do not

knowingly consent to purchasing or being biiied for Triiegiant’s l\f|embership Programs,

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and do not provide Trilegiant with vaiid authorization, in writing or otherwise, to withdraw
funds from or assess charges against the consumers’ credit, debit, or other accounts

C. Credit Card Companies and iliiarketing Partners ignored Attorney
Generat investigations and Prior Negative Pub|icity Concerning
`f'ri|egiant Enterprises

81 Credit card companies not oniy have the ability to protect their customers
accounts from fraudulent charges by using sophisticated anti-fraud software, but they
also have various merchant ruies in place that are designed to identify and prevent
frauduient merchants from accepting unauthorized credit card transactions

82. Professor Ede|man supplemented his initial statement to the Senate
Commerce Committee with a subsequent work entitied, "Payment Card Network Ruies
ProhibitAggressive Post-Transaction Tactics,” in which he notes:

American Express’s iVierchant Reference Guide prohibits the automatic
transfer of customers’ card numbers American Express ruies provide that
“ivierchants . . . must not disclose Cardmember information . . . other than
to facilitate Transactions in accordance with the Agreement" (p.7)
(emphasis added). No provision of the agreement authorizes a merchant
to transfer a customer’s card number to another merchant Furthermore,
for a card»not~present charge, a merchant “must . . . ask the Cardr_nember
to provide: . . . Card Number" (p.'i2) (emphasis added). i\io provision
authorizes a merchant to obtain a customer’s card number in any way
other than by asking the customer to provide such number, Thus, post~
transaction marketers violate American Express policies when they obtain
customer card numbers by making copies from other merchants

ld. (emphasis in origina'|)_
83. Likewise,

Visa’s Ruies for l\/lerchants prohibit the automatic transfer of customers’
card numbers Visa rules provide that a charge may occur after “the
cardhoider provides the merchant with the account number” (emphasis
added) (p.7) (emphasis added). No ruie authorizes charges without the
cardhoider providing an account number Furthermore, Visa requires that
merchants “keep cardholder account numbers and personai information
confidentia|” and provide that such information “shouid'be reieased only to
your merchant bank or processor, or as specifically required by iaw” (p.12)

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(emphasis added). Transferring a card number to a post-transaction
marketer does not fit any of these narrow exceptions and is therefore
prohibited

Visa’s Ru|es for Merchants require merchants to request payment card
expiration dates Visa states: "Whenever possib|e, card-not-present
merchants should ask customers for their card expiration . . . date” (p.40)
(emphasis added). it is certainly “possibie” for post-transaction marketers
to ask customers for their card expiration dates but post- transaction
marketers do not do so. Through this failure, post-transaction marketers
fail further short of applicable Visa requirements

Visa’s Rules for Nlerchants require notification to each customer before
each periodic charge. For ali recurring transactions Visa indicates that
merchants should “notify the customer before billing . . . at least 10 days in
advance [of each billing] [inc|udl]ing] the amount to be charged” (p.52)
(emphasis added). Whi|e Visa describes this notification as optional
("shouid”), the principie is clear: Notify customers before each charge so
they have a meaningful and timely opportunity to decline in contrast, post-
transaction marketers routinely charge customers’ Visa cards without such
notification.

Visa’s Ruies for i\/ierchants require that a merchant confirm a customer’s
preferred payment method. Under a rule entitled “Confirm the Choice,”
Visa explains a merchants obligation: “To avoid any kind of
misunderstanding about the customer’s choice of payment, merchants
should include a confirmation page or voice confirmation that specifies the
payment option selected (e.g., Visa, i\/|astercard, Star, etc)” (p.15)
(emphasis added). Whi|e Visa describes this confirmation as optional
(“should"), the principle is ciear: Confirmation pages provide an important
mechanism for confirming a customer’s intent to enter a paid relationship
By skipping such confirmation, post- transaction marketers violate Visa’s
guidelines

ld. (emphasis in originai).
84. Likewise,
iV|asterCard’s Ruies specifically disallow automatic transfer of customers

card numbers i\/iasterCard rules provide that "a i\/lerchant must not seli,
purchase, provide, exchange or in any manner disclose Card account

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number, Transaction, or personal information of or about a Cardho|der to
anyone other than its Acquirer, to the Corporation, or in response to a valid
government demand." Transferring a card number to a post-transaction
marketer does not fit any of these narrow exceptions and is therefore
prohibited

iVlasterCard’s Ru|es require each merchant to clearly notify consumers of

the name and identity of the company that will charge their cards

iviasterCard requires that merchants “prominent|y and unequivocally

inform[] the Cardho|der of the identity of the Nierchant . . . so that the

Cardho|der can readily distinguish the i\iierchant from any other party." in

particular, |‘viasterCard requires that the l\/ierchant’s site must “prominent|y

display the name of the Nlerchant . . . as prominently as any other

information depicted on the Web site." in contrast, post-transaction

marketers widely fail to present their names with the requisite prominence.

id. (emphasis in original).

85. Trilegiant’s entire business model is based on violating these credit card
merchant rules Trilegiant and its e-merchant partners repeatedly violated, and
continue to violate these rules and have generated high volumes of customer
complaints triggering fraud warnings and/or fraud`monitoring procedures within the
credit card companies

86. Despite the evidence that Trilegiant’s business practices did not meet the
credit card companies’ merchant rules and despite the credit card companies’
knowledge that Trilegiant membership “c|ub” charges are among the highest sources
of complaints brought to the attention of its fraud monitoring group, the credit card
companies continued to process millions of questionable credit and debit charges
every month without first verifying the charges with the account holder, as the credit
card companies do with any number of other questionable credit card and debit card

account charges

87. The Supp|ernental Senate Report states

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Evidence the Committee received from . . .American Express shows that
the data pass process and other practices employed by [Tri|egiant] and
their e-commerce partners violated the credit card companies’ operating
ruies and generated high volumes of customer complaints [Tri|egiant] has
triggered fraud warning or fraud monitoring procedures within . . .
Arnerican Express. Yet, in spite of significant evidence that [Tri|egiant’s}
business practices did not meet the credit card systems’ standards
{Triiegiant] maintained access to the credit card systems and processed
millions of questionable credit and debit charges through these systems
every month

'k'k'k

[B]ecause the credit card companies did not vigorously enforce their own
rules [Tri|egiant] w[as] able to charge mi|iions of consumers monthiy fees
that the consumers had not authorized

88. The credit card companies profit from Trilegiant transactions earning a

percentage of the fee Triiegiant charges

D. Trilegiant Enterprises Nlarketing Partners, and Credit Card

Companies Have Notice of Consurner Comp|aints Spawned by their
Fraudulent Biiiion~»Dollar Scheme.

89. Thousands of consumers have compiained, and are continuing to

compiaint about the practices described herein, claiming that they incurred unauthorized

charges for i\/lembership C|ubs and experienced extreme difficulty in attempting to

cancei these charges These compiaints were made, and are being made, on public

internet forums and directly to the Trilegiant Enterprises and their affiiiates

subsidiaries and/or parent companies credit card companies (including the credit card

companies named as defendants herein), and e-rnerchants (inc|uding the Nlarketing

Partners named as defendants herein). Here are but a few examples of such

complaints

a. “|Vly banking institution informed me of an overdraft l arn pretty
good with my bank account never getting overdrawn. le bank told me about 2
charges of $19.99; both from 2 different companies but both called TLG . . . l

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wish everyone who has been ripped oft by these peopie would band together &
fite a |awsuit."

b. "This company TLG or Trilegiant whatever They charged my card
Without my authorization i dont[sic] even know how they got my credit card
information l dont{sic] even know what this company does They charged my
card continuously and l dont[sic] even know what for?”

c. “| discovered going through my debit card statement on Jun 23
20i1 that there were several charges of $16.99 that l could not correiate with any
purchases --. ~. . it was discovered that the charges originated in February 2011.
Each month had a charge on the 8th and 29th of the month_one
Tt_GTVi_ADV(TLG Trave| Advantage) and one for TLGSHOPPERADV (TLG
ShopperAd\/antage). Therefore at this point my account has been debited with a
total of $169.90."

d. “Tri|egiant and We||s Fargo Bank . . . bi|l[ed} and coiiect[ed]
unauthorized charges from me for products or memberships that l’ve never
requested or consented to receive_”

e. “| have absoluteiy [n]o idea how these people got my credit card
number, but they claim l signed up for a membership of $19.99 per month
8/20/10. l never received membership information or anything . .

f. “The first time | had ever heard of TLG Buyers Advantage, Ti_G
Everyday or Trilegiant was when l bought a electronic equipment item for my
computer over the phone. The iady that helped me through the buying process
wouidn’t stop talking about how l coutd get forty do|iars back if l paid one do|iar
for this “protection service." | tried to deny the service several times by saying an
outright NO. Finaliy, feeling frustrated, | said fine and waited for my package that
she said would contain information to cancel the service. l caiied that number
when things came in the mail and thought that was the end of it. But, three
months |ater, l noticed that ’i6.99 was coming out of my account for TLG
Everyday, and another 16.99 for `i`LG Buyers Advantage. When i noticed this |
cai!ed i'riiegiant and told them to cancel my service with them, and they were
reluctant to cancel my service, however l got a canceilation number this time
around it has been a month since that incident and now they are charging me
yet again, but this time oniy for the TLG Everyday. TRELEGIANT and all of its
affiliates are SCAl\/i ART|STS.”

g. “On or about October 2009, l made a DVD purchase from an
internet company called |Vli|es Kimbai|.com for a DVD that was advertised on
television On the pay page of that website, it steers you to other options which
may be of interest Some unrelated questions are asked such as your town of
birth? You end up on a “confirmation” page to accept some type of discount
service . . . l simpr exited that Website without confirming anything Apparentiy, |
had signed up without my knowledge, to that discount program simply by means

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of looking at what they had to offer! l called the |Vii|es Kimbal|.com people again.
The woman heiping me . . . mentioned that their associate business []Trilegiant
Corp. should be contacted “to see what they can do.” [This consumer goes on to
say that he called Trilegiant and was told by the representative that he signed up
tor the service] “by confirming [his] mother’s maiden name and place of binh.”
[After he threatened to contact the ConnecticutAttorney Genera|’s office, he was
transferred to another person Who told him he would be receiving a complete
refund of the charges.]

h. “Shopping Essentials and TLG*Great Fun. l have had the
experience of being double billed months (for approximately 10 months on our
credit card tor services we did *NOT* request or authorize). One monthly charge
Was for $11.95 and the second for $12.99."

i. “TLG HAS BEEN BlL.i,.lNG iViY CREDl`l` CARD ANDi D|D NOT
AUTHORIZE TH|S CHARGE OF $11.99 A lV|ON`i`i-i. | DO NO'i' GiVE iViY
CRED|T CARD NUN|BER `l`O ANYONE ON THE lNTERNET SO |Ai\/l UNABLE
TO KNOW HOVV THEY GOT lVlY iNFORNlATiON."

j. “VVe discovered that TLG Great Fun had been charging our credit
card $11.99 per month since Apri| 09 when my wife ordered two pairs of shoes
from FootSmart. We did not authorize Tl_G Great Fun nor give them our credit
card number, so apparently FootSmart shared this information with TLG Great
Fun. l contacted TLG Great Fun and asked for the $11.99 fraudulently billed, but
have not received any indication that they Wii| refund the money.”

k. "Both companies t|g great fun and t|g travelers advantage began
taking 12.50 each from my bank account in June 2009 and did so thru Decernber
2009 without any authorization Niy bank said they cound[sic] not stop them
since they were taking it from a debit card number

l finally cancelled my debit card and had it reissued With a new number which is
the only way | could stop them. l tried calling them several times to get my
money refunded without ever getting to talk to a person. A|ways put on hold for
very long times."

|. "When | ordered some items on-|ine, Great Fun! got my personal
information and charged my bank account even though i didn’t authorize Great
Fun! to charge me for any services or products l had to call Great Fun! three
times to have the unauthorized charges removed, and my information removed
from their membership database.”

m. “TLG Shoppers Advantage charged my credit card every month
after l was assured that my trial membership had been cancelled . . . They mask
themselves as professionals who can help promote businesses but they are
actually rip-off scam artists that wii| iie to the consumer and then steal money by
unauthorized charges after they bait you with discounted services with a ‘free trial

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membership.’ The[y] will bait you with their ‘iree trial membership’---in order to
get your credit card information Then, after you cancel (wlthin the 30 day free
trial period), they Wi|| ‘forget to cancel your membership and continue to rip you
off until you catch them. .They’ ve been reported countless times and yet keep
finding ways to rip off more consumers.”

n. “TGL ripped off my 89 year old father by charging his credit card
and not responding to pleas from my father to stop. iv‘ly father has been charged
for over a year on his credit card twice monthly by TGL. i-ie tried to get them to
stop but they continued to charge. | found out about it and am trying to file as
many complaints as possib|e.”

o. "Eiite Excursions is evidently part of Trilegiant (parent of such We||~
known ripoff companies as Travelers Advantage and Buyers Edge, both of Which
had previously ripped me off). On June 29 l Was debited $12.99, Which l noted in
my check ledger . . . Then on Juiy 29 l was debited another $12.99 . . . when |
tried to go to Elite Excursions’ website, | was told l was being redirected to
Travelers Advantage . . . They already had my into because, as l mentioned
above, Travelers Advantage has already stolen from me.”

p. "Trilegiant charged my Chase Credit card on 2 occasions for
services that l never requested | had never even heard of this company before
now_

The first time l was charged for their TravelersAdvantage services The second
time l was charged for the i-iea|thSaver services l don’t even know what these
services are comprised of. .This is a scam. l can see that others have also

complained about this company Trilegiant should be driven out of business and
other businesses associated with this scam should be fined ”

90. Despite the flood of consumer complaints the Trilegiant Enterprises
continue to engage in the same fraudulent marketing scheme under their partnership
agreements With numerous Nlarketing Partners.

91. The Trilegiant Enterprises generated over $i.¢l billion in revenue from
lnternet consumers who have been charged for i\/lernbership Programs, $792 million of

which went to the various Nlarketing Partners.

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CLASS ACT|ON ALL|§GAT¥ONS
92. P|aintiffs bring this action on behalf of themselves and as a class action,
pursuant to the provisions of Rules 23(a), (b)(2) and (b)(3) of the Federal Ru|es of Civil
Procedure on behalf of a class defined as follows:

P|aintiff Class

Al| persons in the United States who, while completing online sales
transactions with one or more of the parties named herein as Nlarketing
Partner Defendants incurred charges for one or more of the l\/lembership
Programs during the period from |Vlarch 2008 through the present clay (the
“P|aintiff Class").

Exc|uded from the Plaintiff Class are Defendants and their subsidiaries and affiliates ali
persons who make a timely election to be excluded from the P|aintiff Class;
governmental entities and the judge to whom this case is assigned, including any
immediate family members thereof P|aintiffs reserve the right to modify or amend the
P|aintiff Class definition, as appropriate

93. Certification of P|aintiffs’ claims for classwide treatment is appropriate
because Plaintiffs can prove the elements of their claims on a classwide basis using the
same evidence as would be used to prove those elements in individual actions alleging
the same claims

94. Numerosity - FED. R. Clv. P. 23(a)(’l). 'i'he members of the P|aintiff Class
are so numerous that individual joinder of all Piaintiff Class members is impracticable
There are at least thousands if not tens of thousands of consumers who have incurred
fraudulent and unauthorized charges for the |Vlembership Programs described herein.
The precise number ot Plaintiff Class members and their addresses is unknown to d
P|aintiffs but may be ascertained from Defendants’ books and records P|aintiff Class

members may be notified of the pendency of this action by recognized, Court-approved

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notice dissemination methods which may include U.S. mail, electronic maii, internet
postings, and/or published notice

95. Commona|ity and Predominance - FED. R. Clv. P. 23(a)(2) and 23(b)(3).
This action involves common questions of law and fact, which predominate over any
questions affecting individual Piaintiff Class members Ali Plaintiff Class members were
the targets of, and were victimized by, the same fraudulent and deceptive practices on
the part of Defendants and there are no significant individual issues which would
become the focus of this action. Furthermore, common questions of law and fact,
include, but are not limited to, the following:

a. whether Defendants caused P|aintiffs and Plaintiff Class members
to incur unauthorized charges on their credit and/or debit card accounts for
lVlembership Programs;

b. whether Defendants’ conduct in causing these unauthorized
charges constitutes wire fraud pursuant to 18 U.S.C. § 1343;

c. whether Defendants’ conduct in causing these unauthorized
charges constitutes mail fraud pursuant to 18 U.S.C. § l34i;

d. whether Defendants’ conduct in causing these unauthorized
charges constitutes bank fraud pursuant to 18 U.S.C. § 1344(2);

e. whether the conduct alleged and theallegations herein with respect
to that conduct satisfy the enterprise pattern, and other elements of racketeering

activity under R|CO;

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f. whether P|aintiffs’ and Piaintiff Class members’ credit and/or debit
card account information and other private information was wrongfully accessed
by persons or entities not authorized to access such information;

g. Whether the transmission of Plaintifis’ and P|aintiff Class members’
credit and/or debit card account information and other private information
between and among Trilegiant, its aftiiiates, subsidiariesl and/or parent
companies, and E-merchants in connection with consumers’ internet transactions
violated the E|ectronic Communications Privacy Aot, 18 U.S.C. § 2510, et seq.;

h. whether Defendants’ conduct as alieged herein Was in violation of
the Connecticut Unfair Trade practices Act, C.G.S. §42-110a, et seq.; and

i. whether P|aintiffs and the other members of the P|aintiff Ciass are
entitied to equitable reiief, including but not limited to injunctive reiief and
restitution

96. Typicatity - FED. R. Civ. P. 23(a)(3). Piaintiffs’ claims are typical of the

claims of the other members of the Plaintiff Class because, among other things, ail

Plaintiff Class members were comparabiy injured through the uniform misconduct

described above, and were subject to Defendants’ scheme to enroll consumers in the

Nlembership Programs and cause them to incur unauthorized charges on their credit

and/or debit card accounts

97. Adequacy of Representation ~ FED. R. Clv. P. 23(a)(4). Piaintiffs are

adequate Ptaintiff Class representatives because their interests do not contiict With the

interests of the other members of the P|aintiff Class they seek to represent; they have

retained counsei competent and experienced in complex class action litigation; and

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P|aintiffs’ intend to prosecute this action vigorously The Piaintiff Ciass members’
interests will be fairly and adequately protected by P|aintiffs and their counsel.

98. Deciaratory and injunctive Reiief - FED. R. Clv. P. 23(b)(2). Defendants
have acted or refused to acton grounds generaiiy applicable to Piaintiffs and the other
members of the P|aintiff Class, thereby making appropriate finai injunctive relief and
deciaratory reilef, as described below, with respect to members of the P|aintiff Ciass as
a whole.

99. Superiority -» FED. R. Civ. P. 23(b)(3). A class action is superior to any
other avaiiabie means for the fair and efficient adjudication of this controversy, and no
unusual difficuities are iii<ely to be encountered in the management of this ciass action.
The damages or other financiai detriment suffered by Piaintiffs and the other members
of the P|aintiff Class are relatively smaii compared to the burden and expense that
wouid be required to individually iitigate their claims against Defendants so it would be
impracticabie for P|aintiff Class members to individually seek redress for Defendants’
wrongful conduct Even if the Piaintiff Class members couid afford individual |itigation,
the court system could not. individualized litigation creates a potentiai for inconsistent
or contradictory judgments and increases the delay and expense to ali parties and the
court system By contract, the class action device presents far fewer management
difficulties and provides the benefits of single adjudication, economy sca|e, and
comprehensive supervision by a singie court.

100. This action is also brought as a class action, pursuant to the provisions of
Rules 23(a), (b)(2) and (b)(3) of the Federal Ruies of Civii Procedure, proposing

certification of a class of Defendants defined as follows:

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Defendant Class

The named Nlarketing Partners, as weil as ali online merchants e-
commerce companies e-merchants and other unnamed coconspirators
who own, or operate an online forum or web site who have facilitated or
ailowed one or more of the Trilegiant Enterprises through such online
forums web sites or cthenrvise, to charge consumers’ creditor debit card
accounts after completing an online purchase

P|aintiffs reserve the right to modify or amend the Defendant Class definition, as
appropriate

101. Certification of the Defendant Ciass is appropriate because P|aintiffs can
prove the elements of their ciaims on a classwide basis using the same evidence as
Wouid be used to prove those eiements in individuai actions alleging the same claims

102. Numerosity - FED. R. Civ. P. 23(a)('l). The members of the Defendant
Class are so numerous that individuai joinder of all Defendant Class members is
impracticable There are hundreds of defendants who operate online forums or web
sites similar to the Nlarketing Partners named herein, and have caused consumers to
incur frauduient and unauthorized charges for the Membership Programs described
herein. The precise number of Defendant Class members and their addresses is
unknown to Piaintiffs, but may be ascertained from information and records in the
possession or controi of the Trilegiant Enterprises Defendant Class members may be
notified of the pendency of this action by recognized, Court~approved notice
dissemination methods which may include U.S. mai|, eiectronic mail, lnternet postings
and/or pubiished notice.

103. Commonality and Predominance - FED. R. Civ. P. 23(a)(2) and 23(b)(3).
This action involves common questions of iaw and fact, which predominate over any

questions affecting individual Defendant Ciass members All Defendant Class members

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operated online forums and/or web sites for e-commerce purposes and participated in

_ the same fraudulent and deceptive practices on the part of Defendants including the
Niarketing Partners named herein, and there are no significant individual issues Which
would become the focus of this action. Furthermore, common questions of law and fact,
inciude, but are not iimited to, the following:

a. Whether Nlarketing Partners and Defendant Class members caused
P|aintiffs and Plaintiff Ciass members to incur unauthorized charges on their
credit and/or debit card accounts for l\/lembership Programs

b. whether Nlarketing Partners’ and Defendant Class members’
conduct in causing these unauthorized charges constitutes wire fraud pursuant to
18 U.S.C. § 1343;

c. whether Marketing Partners’ and Defendant Class members’
conduct in causing these unauthorized charges constitutes mail fraud pursuant to
18 U.S.C. § 1341;

d. Whether Nlarketing Partners’ and Defendant Ciass members'
conduct in causing these unauthorized charges constitutes bank fraud pursuant
to 18 U.S.C.§1344(2);

e. whether the conduct alleged and the allegations herein with respect
to that conduct satisfy the enterprise, pattern, and other elements of racketeering
activity under RlCO;

f. whether Nlarketing Partners and Defendant Class members caused

P|aintiffs’ and P|aintiff Ciass members’ credit and/or debit card account

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information and other private information to be wrongfully accessed by persons
or entities not authorized to access such information;

g. whether Nlarketing Partners and Defendant Class members caused
and/or facilitated the transmission of P|aintiffs’ and P|aintiff Class members' credit
and/or debit card account information and other private information between and
among Trilegiant, its affiliates subsidiaries and/or parent companies E~
merchants and Defendant Class in connection With consumers’ internet
transactions violated the Eiectronic Communications Privacy Act, 18 U.S.C. §
2510, et seq.;

h. whether Nlarketing Partners’ and Defendant Class members’
conduct as alleged herein was in violation of the Connecticut Unfair Trade
practices Act, C.G.S. § 42-i10a, et seq.; and

i. whether Nlarketing Partners and members of Defendant Class
members are entitled to assert any defenses to such violations
104. Typicality - FED. R. Crv. P. 23(a)(3). The claims against the Nlarketing

Partners are typical of the ciaims of the other Defendant Class members because,
among other things ai| Defendant Class members operate under the same agreement
With one or more of the Triiegiant Enterprises and/or Credit Card Companies alleged to
cause the uniform misconduct described above and participated in the scheme to enroll
consumers in the l\/lembership Programs causing Piaintiffs and members of the P|aintiff

Class to incur unauthorized charged on their credit and/or debit card accounts

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t05. Adequacy of Representation - FED. R. Civ. P. 23(a)(4). The named
Nlarketing Partners are adequate Defendant Class representatives because their
interests do not conflict with the interests of the other Defendant Class members

106. Deciaratory and injunctive Reiief- FED. R. Civ. P. 23(b)(2). Defendants
have acted or refused to act on grounds generaliy applicabie to P|aintiffs and the other
members of the Plaintiff Class thereby making appropriate final injunctive relief and
deciaratory relief, as described beiow, with respect tc the members of the P|aintiff Ciass
as a whole. Certification of a Defendant Class is appropriate because P|aintiffs and the
P|aintiff Class are seeking such injunctive relief and declaratory relief with respect to all
members of the Defendant Class whether specificaily named herein or acting as an
unnamed co-conspirator.

107. Superiority - FED. R. Civ. P. 23(b)(3). A ciass action is superior to any
other available means for the fair and efficient adjudication of this controversy, and no
unusual difficulties are likely to be encountered in the management of this class action.
Certifying a Defendant Class wii| avoid potentially inconsistent or contradictory
judgments and reduce the delay and expense to all parties and the court system. By
contrast, the class action device presents far fewer management difficulties and
provides the benefits of singie adjudication, economy scaie, and comprehensive

supervision by a single court.

COUNT l
Vioiations of Racketeer lnftuenced Corrupt Organizations Act
18 U.S.C. § 1962(c)
Against All Defendants

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108. The preceding paragraphs of this Compl_aint are realleged and
incorporated by reference This claim, which asserts violations of Section 1962(c) of
RlCO, 18 U.S.C. § 1962(0), is asserted against ali Defendants

The RlCO Enterprise

109. At all relevant times Defendants and each of them, unlawfuliy, knowingly
and intentionally conducted and participated, directly and/or indirectly, in the conduct of
the enterprise's affairs through a pattern of racketeering activity as set forth below, in
violation of Section 1982(c) of RlCO, 18 U.S.C. § 1962(c).

110. Trilegiant, together with the Nlarketing Partners and the Credit Card
Companies formed an association-in-fact for the common purpose cf uniawfuliy,
fraudulently, and deceptively marketing and selling Defendants l\/lembership Programs
to consumers including Piaintiffs and P|aintiff Class members in order to carry out their
common purpose, Defendants established, directed, and/or participated in the operation
and management of an ongoingl independent structure and mechanism for extracting
from consumers unauthorized "membership fees" related to Defendants l\/lembership
Programs Said structure Worked, and continues to work, as foiiows: |n exchange for
valuable compensation, Defendants are provided with consumers personal identifying
and financial information by the Nlarketing Partners without consumers authorization or
' consent Defendants in tum, use this information to enroll consumers in their
l\/lembership Programs again Without consumers authorization or consent, and then
charge them substantial unauthorized "membership fees" ranging between $8.99 per
month and $480.00 annually At all times Defendants knew and intended to defraud

consumers of "membership fees" by means of this independent structure, thereby

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maximizing their respective profits in the process This association~in»fact constitutes an
"enterprise" within the meaning of Section 1981(4) of RlCO, 18 U.S.C. § 1981(4).

1i1. At a|| relevant times Defendants and each ofthem, were "person(s)," as
that term is defined in Section 1961(3) of RlCO, 18 U.S.C. § 1961(3), and are legally
distinct from the enterprise

112. At ali relevant times the enterprise as described herein was engaged in,
and its activities affected, interstate commerce within the meaning of Section 1962( c) of
RlCO, 18 U.S.C. § 1982(c).

Racketeerinq Activitv and Predicate Acts

113. Defendants and each of them, engaged in "racketeering activity" within
the meaning of 18 U.S.C. § 1861(1) by engaging in acts that constitute a violation of the
following statutes 18 U.S.C. § 1343 (wire fraud) and 18 U.S.C. § 1341 (mail fraud).

114. Defendants and each of them, , did willfully and with the purpose to
defraud consumers including P|aintiffs and to obtain consumers money or property by
means of false pretenses engage in fraudulent conduct constituting Wire and mail fraud,
in violation of18 U.S.C. § 1343 and 18 U.S.C. § 1341, by engaging in the following acts:

a. Forming and maintaining the RlCO enterprise;

b. Fraudulently concealing from consumers that they have been
unilaterally enrolled in Defendants Nlembership Programs without their
authorization or consent;

c. Fraudulently concealing from consumers that they have been, and
will continue to be, charged for their membership in Defendants l\/lembership

Programs;

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d. Fraudulently concealing from consumers the fact of, or amount of,
the recurring charges they Wi|| incur by virtue of their enrollment in Defendants
Membership Programs

e. Fraudulently concealing from consumers the terms and conditions
relating to Defendants l\/lembership Programs

f. Fraudulently concealing from consumers the benefits (if any),
obligations features components or elements of Defendants l\rlembership
Programs

g. Fraudulently concealing from consumers the manner of accessing
and/or using Defendants lVlembership Programs and

h. Fraudulently concealing from consumers that Piaintiffs and P|aintiff
Class members credit, debit, or charge cards and other personal, private, and
confidential information is transferred by e-commerce merchants to Defendants
for the purpose of systematically and unilaterally charging Plaintiffs and the
P|aintiff Class for enrollment in Defendants l\/iembership Programs

115. By virtue of the foregoing fraudulent activities Defendants have engaged

in a pervasive pattern of unlawful and unfair business practices causing harm to

Plaintiffs and the members of the P|aintiff Class Defendants fraudulent conduct, as

described above, constitutes a scheme or artifice to defraud Plaintiffs and P|aintiff Class

members

116. ln furtherance of and for purposes of executing the foregoing fraudulent

and illegal course of conduct and scheme to defraud, Defendants used, and caused to

be used, interstate wire and mail communications to transmit or disseminate faise,

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fraudulent and misleading communications and information, in violation of the wire and
mail fraud statutes 18 U.S.C. §§ 1343 and 1341. Defendants use of interstate wire
facilities includes text and images relating to Defendants l\/lembership Programs which
appear on the Nlarketing Partners’ websites inciuding, inter alia, (1) “interstitia| sales"
offer pages appearing between the checkout page and the confirmation page of the e-
commerce merchant from whom the consumer intends to make a purchase, (2) "pop
up" windows appearing on top of the confirmation page, and (3) hyperlinks or "banners"
that are included directly on the confirmation page itself Defendants use of interstate
mail facilities includes inter alia, the mailing of checks and other modest premiums to
consumers which Defendants represent to be "rewards' for being valued customers

117. All of the interstate wire and mail communications were made in
furtherance of Defendants scheme to defraud Plaintiffs and P|aintiff Class members
and to obtain their money or property by means of false pretenses

118. Each interstate wire and mail communication that was made in
furtherance of Defendants scheme to defraud Piaintiffs and P|aintiff Class members
and to obtain their money or property by means of false pretenses constitutes a
separate and distinct act of “racketeering activity," as that term is defined in Section
1961(1) of RlCO, 18 U.S.C. § 1961(1).

119. Defendants each committed and/or abetted the commission of significantly
more than two of these acts of "racketeering activity."

' 120. The predicate acts are common to Defendants scheme to conduct the

affairs of the RlCO enterprise, and the acts are continuing and threatening to continue

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indefinitely These predicate acts are chargeable and indictab|e, as required under
Section 1981(1) of RlCO, 18 U.S.C. § 1961(1).

121. The racketeering activity was and is related by virtue of common
participants common victims (Plaintiffs and P|aintiff Class members), a common
structure and method of commission, a common purpose, and a common result of
enrolling and charging consumers for unknown and unwanted l\/lembership Programs
thereby defrauding Piaintiffs and Plaintiff Class members of significant monies and
unjustly enriching Defendants and their collaborators

122. The racketeering activity is distinct from the RlCO enterprise The
enterprise, as an association-in-fact, was formed to facilitate the marketing and sale of
Defendants Membership Programs The racketeering activity- Defendants and their
collaborators practice of unlawfully, fraudulently, and deceptively collecting
unauthorized ”membership fees" from consumers through repeated acts of Wire and
mail fraud ~ enables Defendants and their collaborators to profitably maintain and
conduct the enterprise for the purpose of defrauding consumers

. Causation

123. As a direct and proximate result of the racketeering activityl P|aintiffs and
P|aintiff Class members were enrolled in and charged for l\/lembership Programs on an
ongoing basis at the cost of between $8.99 per month and $480.00 annually, plus any
fees charged by financial institutions when Defendants activities resulted in the
consumer‘s account being overdrawn. Thus, P|aintiffs and Plaintiff Class members have

been injured in their business or property and, therefore, have standing to sue

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Defendants and recover damages and costs of bringing this class action under Section
1964(0) of RiCO, 18 U.S.C. § 1962(c).

124. By virtue of their violations of Section 1962(0) of RlCO, 18 U.S.C. §
1962(c), Defendants and each of them, are jointly and severaiiy liable to P|aintiffs and
P|aintiff Class members for three times the damages that Piaintiffs and Plaintiff Class
members suffered as a result of Defendants‘ scheme to defraud consumers

COUNT li
Vioiations of Racketeer influenced Corrupt Organizations Act

18 U.S.C. § 1962(d)
Against Aii Defendants

125. The preceding paragraphs of this Compiaint are rea|ieged and
incorporated by reference This ciaim, which asserts violations of Section 1962(d) ot
RlCO, 18 U.S.C. § 1982(d), is asserted against all Defendants

126. Defendants willfully combined, conspired and agreed to conduct and
participate directiy and/or indirect|y, in the conduct of the enterprise’s affairs through a
pattern of racketeering activity, in violation of Section 1962(c) of RECO, 18 U.S.C.

§ 1962(c), thereby vioiating Section 1962(d) of RlCO, 18 U.S.C. § 1962(d). This
racketeering activity consisted of repeated violations of the federal wire fraud, maii fraud
and bank fraud statutes

127. Defendants knew of, agreed to, and acted in furtherance of the overall
objective of the conspiracy by, inter aiia, entering into marketing and saies agreements
that created the structure, mechanism, and financial incentive for defrauding consumers
of "membership fees’l relating to Defendants‘ Niembership Programs

128. ns a direct and proximate resutt of the conspiracy to commit the predicate

acts of wire and maii fraud in violation of 18 U.S.C. § 1982(d) as detailed above,

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P|aintiffs and Plaintiff Ciass members were enroi|ed in and charged for i\/iembership
Programs on ongoing basis, at the cost of between $8.99 per month and $480.00
annuaily, pius any fees charged by financial institutions when Defendants' activities
resuited in the consumer's account being overdrawn. Thus, Piaintiffs and Piaintiff Class
members have been injured in their business or property and, therefore, have standing
to sue Defendants and recover damages and costs of bringing this class action under
Section 1984(d) of RlCO, 18 U.S.C. § 1962(d).

129. By virtue of their violations of Section 1982(d) of RlCO, 18 U.S.C. §
1982(d), Defendants and each of them, are jointly and severaiiy iiab|e to P|aintiffs and
P|aintiff Class members for three times the damages that P|aintiffs and Piaintiff Ciass
members suffered as a result of Defendants’ conspiracy to defraud consumers

COUNT ill
Aiding and Abetting Vioiations of RlCO

18 U.S.C. §§ 1961-1968
Against Defendant Credit Card Companies

130. P|aintiffs incorporate by reference the aliegations of ali prior paragraphs as

though fully set forth herein.

131. This Count iii is brought by P|aintiffs on behalf of themselves and the
P|aintiff Class against Defendant Credit Card Companies.

132. Defendant Credit Card Companies aided and abetted Trilegiant
Enterprises and its |Viarketing Partners in violating, and conspiring to violate, RiCO, 18
U.S.C. §§ 1961-1988

133. Without Defendant Credit Card Companies’ continued cooperation by
continually processing the recurring the Trilegiant Enterprises credit card charges the

Trilegiant Enterprises and their Nlarketing Partners could not accompiish the frauduient

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marketing scheme to enroll consumers in i\/|embership Programs without their
knowiedge or consent.

134. Defendant Credit Card Companies aided and abetted the Triiegiant
Enterprises and their Nlarketing Partners in their repeated commission of maii, wire, and
bank frauds with fui| knowiedge that the consumers never provided their confidential
billing information directly to the Triiegiant Enterprises and never provided informed
consent to the Triiegiant Enterprises to charge a monthly fee on their credit cards

COUNT iV
Aiding and Abetting Commissions of Niaii Fraud 18 U.S.C. § 1341,

Wire Fraud, 18 U.S.C. § 1343, and Bank Fraud, 18 U.S.C. § 1344
Against Defendant Credit Card Companies

135. P|aintiffs incorporate by reference ali at|egations of ali prior paragraphs as
though fuiiy set forth herein

136. This Count iV is brought by P|aintiffs on behalf of themselves and the
Piaintiff Class against Defendant Credit Card Companies

137. Defendant Credit Card Companies aided and abetted the Trilegiant
Enterprises and their Nlarketing Partners in violating, and conspiring to violate, 18
U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1341 (maii fraud), and 18 U.S.C. § 1344 (bank
fraud).

138. ‘Without Defendant Credit Card Companies’ continued cooperation by
continuain processing the recurring the Trilegiant Enterprises credit card charges the
Trilegiant Enterprises and its Nlarketing Partners could not accomplish the fraudulent
marketing scheme to enro|i consumers in membership programs without their

knowledge or consent.

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139. Defendant Credit Card Companies aided and abetted the Trilegiant
Enterprises and its Nlarketing Partners in their repeated commission of mail, wire, and
bank frauds with full knowledge that the consumers never provided their confidential
billing information directly to the Trilegiant Enterprises and never provided informed
consent to the Trilegiant Enterprises to charge a monthly fee on their credit cards

COUNT V
Vioiations of Eiectronic Communications Privacy Act

18 U.S.C. §§ 2510 et seq.
Against Triigiant Enterprises and Nlarketing Partners Defendants

140. P|aintiffs incorporate by reference ali allegations of ali prior paragraphs as
though fully set forth herein.

141‘ This Count V is brought by P|aintiffs on behalf of themselves and the
P|aintiff Class against the Trilegiant Enterprises and Nlarketing Partners.

142. The ECPA prohibits any person from “intentionaiiy intercept[ing],
endeavor[ing] to intercept, or procur[ing] any other person to intercept or endeavor to
intercept, any wire, ora|, or electronic communication.” 18 U.S.C. § 2510(1)(a).

143. “Eiectronic communication” means “any transfer of signs signals Writing,
images sounds data, or intelligence of any nature transmitted in whoie or in pari by a
wire, radio, eiectromagnetic, photoe|ectronic or photooptica| system that affects
interstate or foreign commerce." 18 U.S.C. § 2510(12).

144. “|ntercept" means the “acquisition of the contents of any Wire, eiectronic,
or oral communication through the use of any electronic, mechanica|, or other device.”
18 U.S.C. § 2510(4).

145. The transmission over the internet of the confidential credit or debit card

account information to various e-merchants, including the Nlarketing Partners, by

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Piaintiffs and P|aintiff Class members constitutes “eiectronic communications” within the
meaning of 18 U.S.C. § 2510(12). The transmission is a private communication among
these e-merchants and P|aintiffs and P|aintiff Class members made for the sole
purpose of purchasing the e~merchants’ products and/or services that did not include
the The Trilegiant Enterprises’ Membership Programs

146. Without prior notice to Piaintiffs and Plaintiff Class members and in
furtherance of their frauduient marketing scheme to enroll and charge unwitting
consumers for the |Viembership Programs as ai|eged in this Compiaint, Trilegiant
Enterprises entered into partnership agreements with various e~rnerchants, including
the Nlarketing Partners, to intentiona|iy intercept, and did intercept, Piaintiffs’ and
Piaintiff Class members’ confidential credit card information by means of electronic
devices inciuding, but not iirnited to, their computers in vioiation of 18 U.S.C. §
2510(|)(a).

147. Pursuant to 18 U.S.C. § 2520, P|aintiffs and the Piaintiff Class members
are entitled to preliminaryl equitable and declaratory reiiet, in addition to statutory
damages of the greater of $10,000 or $100 per day for each day cf vioiation, actual and
punitive damages reasonable attorneys’ fees and other litigation costs and Defendants’
profits obtained from the above- described vioiations.

COUNT Vi
Aiding and Abetting Vioiations of Eiectronic Communications Privacy Act

18 U.S.C. §§ 2510 et seq.
Against Defendant Credit Card Companies

148. Piaintiffs incorporate by reference the allegations of ali prior paragraphs as

though fully set forth herein.

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149. This CountV| is brought by P|aintiffs on behalf ofthemseives and the
Piaintiff Class against Defendant Credit Card_Companies

iSO. Defendant Credit Card Companies aided and abetted the Trilegiant
Enterprises and its i\/tarketing Partners in violating, and conspiring to violate, the
Eiectronic Communications Privacy Aot, 18 U.S.C. §§ 2510, et seq.

151. Without Defendant Credit Card Companies’ continued cooperation by
continually processing the recurring the Trilegiant Enterprises credit card charges the
Trilegiant Enterprises and their i\/iarketing Partners could not accompiish the fraudulent
marketing scheme to enroi| consumers in Niembership Programs without their
knowledge or consent

152, Defendant Credit Card Companies aided and abetted the Trilegiant
Enterprises and their Nlarketing Partners in their intentionai interception of P|aintiffs and
P|aintiff Ciass members' confidential credit card information by means of electronic
devices inciuding, but not limited to, their computers with full knowledge that the
consumers never provided their confidentiai billing information directly to the Trilegiant
Enterprises and never provided informed consent to the Trilegiant Enterprises to
charge a monthly fee on their credit cards

COUNi' Vii

Vioiation of Connecticut Unfair Trade Practices Act
C.G.S. § 42-110a, et seq.
Against Triiegiant Enterprises And Nlarketing Partners Defendants

153. P|aintiffs incorporate by reference the aliegations of ali prior paragraphs as
though fuiiy set forth herein_
154. This Count V|i is brought by P|aintiffs on behalf of themselves and the

P|aintiff Ciass against the Triiegiant Enterprises and the Nlarketing Partners.

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155. At ali times relevant hereto, P|aintiffs and Piaintiff Class members Were
“persons” within the meaning of CUTPA (C.G.S. § 42-110a, et seq.).

158 The Defendants are engaged in trade or commerce within the meaning of
Connecticut Generai Statute § 42-110a.

157. Defendants’ marketing and sale ofthe Niembership Programs as
described herein is an unfair and deceptive act and practice in violation of C.G.S. § 42-
110b(a), includingl inter aiia:

a. Representing the i\/iembership Programs as part of the overall
transaction with the e-merchants inciuding the Nlarketing Partners when in fact
they are separate financial transactions with the Trilegiant Enterprises

b. Faiiing to disclose that Trilegiant automatically charges monthly
assessments to Piaintiffs’ and P|aintiff Class members’ credit cards except in an
exceedingly fine print that virtually no one reads;

c. Fai|ing to disclose that the e-merchants affiliated with Triiegiant
Enterprise, including the Nlarketing Partners, have a strong financial incentive to
share, without proper consent, Piaintiffs’ and Piaintiff Class members’ credit card

- information with the Trilegiant Enterprises and that these e~rnerchants do share

the credit card information With the Trilegiant Enterprises pursuant to a

partnership agreement; and

d. Repeatediy processing fraudulent unauthorized charges on
P|aintiffs’ and P|aintiff Class members’ credit or debit cards with knowledge that

these charges are in clear violation of the credit card companiesI merchant rules

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158. As a resuit of Defendants’ frauduient and unfair business practices
P|aintiffs and other P|aintiff Ciass members have suffered ascertainable losses within
the meaning of C.G.S. § 42-110g(a) and have been damaged by Defendants’ unlawqu
acts

159. Defendants’ fraudulent and deceptive acts and practices present an
ongoing threat and likelihood of deception to members of the pubiic and constitute a
fraud upon the members of the public, as well as unfair, unlawful and deceptive acts in
vioiation of CUTPA.

180. Defendants’ conduct as alleged in this cause of action constitutes
intentional and wanton violation of P|aintiffs’ rights and the rights of the members of the
Ciass, or was done with a reckless indifference to those rights

161. Defendants engaged in the unfair or deceptive acts or practices described
herein with intent that others rely upon their conceaiment, suppression and/or omission
of material facts

182. As a direct and proximate result of the foregoing acts and/or omissions of
Defendants P|aintiffs and Plaintiff Class members were damaged in anamount to be
determined at triai.

COUNT Vlli
Aiding and Abetting Vioiation of Connecticut Unfair Trade Practices Act

_ C,G.S. § 42-1103, et seq.
Against Defendant Credit Card Companies

163. P|aintiffs incorporate by reference the allegations of all prior paragraphs as
though fully set forth herein.
164. This Count Vill is brought by Plaintiffs on behalf of themselves and the

P|aintiff Class against Defendant Credit Card Companies

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165. Defendant Credit Card Companies aided and abetted Trilegiant and the
Nlarketing Partners in violating, and conspiring to violate, the Connecticut Unfair Trade
Practices Act, C.G.S. § 42-11Ga, et seq.

166. Without Defendant Credit Card Companies’ continued cooperation by .
continually processing the recurring the Trilegiant Enterprises credit card charges the
Trilegiant Enterprises and its Nlarketing Partners couid not accomplish the fraudulent
marketing scheme to enroll consumers in l\/lembership Programs without their
knowledge or consent

167. Defendant Credit Card Companies aided and abetted the Trilegiant
Enterprises and their e-merchant partners including the Niarketing Partners, to commit
unfair and deceptive acts as described in this Compiaint with full knowledge that the
consumers never provided their confidential billing information directly to the Trilegiant
Enterprises and never provided informed consent to the Trilegiant Enterprises to
charge a monthly fee on their credit cards

COUNT |X

Violation of California Business and Professional Code §§ 17602
Against Trilegiant Enterprises and Nlarketing Partners Defendants

188. Piaintiffs incorporate by reference the ailegations of atl prior paragraphs as
though fuiiy set forth herein.

169. This Count lX is brought by P|aintiffs on behalf of themselves and the
Piaintiff Class against ail Trilegiant Enterprises and Nlarketing Partners Defendants

170. At atl times relevant hereto, P|aintiffs and P|aintiff Class members were

“consumer[sj” within the meaning of Cal. Bus. & Prof. Code § 17601.

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171. Defendants marketing and sale of the Nlembership Programs as
described herein constituted a violation of Ca|. Bus. & Prof. Code § 17602, because
Defendants:

a. Faiied to present the automatic renewal offer terms or continuous
service offer terms in a clear and conspicuous manner before the subscription or
purchasing agreement is fulfilled;

b. Charged the consumer’s credit or debit card or the consumer’s
account with a third party for an automatic renewal or continuous service without
first obtaining the consumer’s affirmative consent to the agreement containing
the automatic renewai offer terms or continuous service offer terms;

c. Failed to provide an acknowledgment that includes the automatic
renewai or continuous service offer terms canceliation poiicy, and information
regarding how to cancei in a manner that is capable of being retained by the
consumer
172. As a direct and proximate result of the foregoing acts and/or omissions of

Defendants Plaintiffs and P|aintiff Class members were damaged in an amount to be

determined at triai.

COUNT X
Un§ust Enrichment
Against All Defendants

173. Piaintiffs incorporate by reference the aiiegations of ali prior paragraphs as

though fully set forth herein.

174. This Count X is brought by P|aintiffs on behalf of themselves and the

P|aintiff Class against ail Defendants

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175. As a result of Defendants’ fraudulent deceptive, and uniawful conduct,
P|aintiffs and P|aintiff Ciass members have conferred benefits upon Defendants in the
form of recurring, monthiy payment for Defendants’ lV|embership Programs

176. Defendants were at all times aware that the benefits conferred upon by
them by P|aintiffs and P|aintiff Class members were the result of Defendants’ fraudulent,
deceptive, and Wrongfui conductx

177. A||owing Defendants to retain these unjust profits and other benefits would
offend traditional notice ofjustice and fair play. Under these circumstances it wouid be
inequitabie for Defendants to retain the benefits and allowing them to do so would
induce companies to fraudulently conceai, mislead, and/or misrepresent key
characteristics and obligations of their products in order to increase sales and profit.

178. P|aintiffs on behalf of themselves and all others simiiar|y situated, seek
restitution from Defendants and an order of this Court proportiona|iy disgorging ali
profits benefits and other compensation obtained by Defendants from their wrongful
conduct

PRAYER FOR RELlEF

 

WHEREFORE, P|aintiffs pray for relief and judgment as fo|iows:

A. For an order certifying this action as a ciass action on behalf of the Piaintiff
Class and the Defendant Class described above, appointing P|aintiffs as the
representatives of the Plaintiff Ciass, appointing Nlarketing Partners as the
representatives of the Defendant Class and designating Piaintiffs’ counsel as counsel

for the Piaintiff Class;

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B. For restitution and/or disgorgement of ali amounts wrongfully charged to

and received from P|aintiffs and members of the P|aintiff Class;

C. For damages according to proof;

D. For an award of treble damages where permitted under applicable law;
E. For an award of punitive damages where permitted under applicable law;
F. For preliminary and permanent injunctive reilef, including an injunction

prohibiting Defendants from any further engagement in the fraudulent marketing scheme

to enroll consumers into their l\/lembership Programs and charge a monthly fee without

authorization;

G. For an award of attorneys’ fees as appropriate pursuant to the above cited
statutes;

H. For costs of suit herein incurred;

|. For both pre- and post-judgment interest on any amounts awarded; and

J. For such other and further relief as the Court may deem proper.

Respectfu||y submitted,

THE PLA|NT|FFS

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